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From: Richard Saddler <richardsaddler@yahoo.com>
Sent: Tuesday, January 7, 2020 6:50 PM
To: Allison E. Lee <alee@boylebrasher.com>
Subject: Re: Saddler v. Carvana - Stipulation re Amount in Controversy



What I was trying to say in my last email is that I will review your request after all discovery has been completed.

Sent from Yahoo Mail on Android



On Tue, Jan 7, 2020 at 5:03 PM, Allison E. Lee

<alee@boylebrasher.com> wrote:

Mr. Saddler,



In the prior action, Carvana, LLC removed the action to federal court. You asked that the case be sent back to
state court, stipulating that you were not seeking in excess of $75,000.00.



We noticed that you have added several counts to the Petition filed in the new action. Could you please advise
whether you are willing to stipulate that your are not seeking more than $75,000.00 in this current suit?



Thank you,



Allison E. Lee

Attorney at Law

BOYLE BRASHER LLC

1010 Market Street, Ste. 950

St. Louis, MO 63101

T: 314.621.7700 l D: 314.448.4125

F: 314.621.1088 l M: 314.630.1876

alee@boylebrasher.com
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